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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
  UNITED STATES OF AMERICA

  v.                                                 Case No. 8:03-cr-77-T-30TBM

  SAMI AMIN AL-ARIAN, et al.
  ____________________________________

                                           ORDER

         This cause came on for consideration upon Defendant Fariz’s Motion in Limine No.

  1 (Dkt. #1204). Defendant asks that the Government be precluded from introducing into

  evidence certain documents and photographs that were seized by law enforcement during a

  search of co-Defendant Al-Arian’s home. The documents consist of tax-related items,

  banking financial statements, and a booklet published in Arabic. The photographs depict

  alleged co-conspirators purportedly attending an Islamic Committee of Palestine (“ICP”)

  conference.

         A hearing on the Motion was held on June 14, 2005. The Government stated during

  the hearing that the seized documents objected to by Defendant Fariz have only been

  identified. The Government also indicated that it has not decided whether it will attempt to

  introduce these documents into evidence. Defendant Fariz’s objection to these documents,

  therefore, is premature.

         As for the photographs, it is clear from the ICP banner appearing in the background

  of the photographs [or some of the photographs] that the images were taken at an ICP

  conference. The Government already has presented evidence demonstrating that Defendant
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  Al-Arian was the founder of the ICP, Defendant Al-Arian helped organize and attended the

  ICP conference where the photographs were taken, and the photographs were made from

  undeveloped film found at Defendant Al-Arian’s home. Accordingly, the photographs are

  admissible. This Court will instruct the jury, however, that this evidence can not be held

  against the other Defendants, including Defendant Fariz, unless and until the Government

  establishes that these Defendants have adopted the posters in some manner.

           It is therefore ORDERED and ADJUDGED that Defendant Fariz’s Motion in Limine

  No. 1 (Dkt. #1204) is DENIED.

           DONE and ORDERED in Tampa, Florida on June 16, 2005.




  Copies furnished to:
  Counsel/Parties of Record

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